          Case 1:23-cv-00335-ABJ Document 17 Filed 03/10/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  KRISTI L., et al.,

                         Plaintiffs,

                  v.
                                                            Civil Action No. 23-0335 (ABJ)
  NATIONAL AIR AND SPACE MUSEUM,
  et al.,

                         Defendants.


                                 APPEARANCE OF COUNSEL

To:    The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel
for:

       Kristi L., on behalf of herself and her minor child, T.L.;
       Christina Mills;
       Patrick Murphy;
       Mary H.;
       Jane Kihne;
       Kathleen Kihne;
       Morgan Mills;
       Sue K., on behalf of her minor child, J.K.;
       Peter H. on behalf his minor child, O.H.;
       Laurie T. on behalf of her minor child, B.T.; and
       Christopher Morris
       (collectively referred to as “Plaintiffs”).

Dated: March 10, 2023.                         Respectfully submitted,

                                               /s/ Olivia F. Summers
                                               OLIVIA F. SUMMERS (D.C. Bar # 1017339)
                                               THE AMERICAN CENTER FOR LAW AND JUSTICE
                                               201 Maryland Avenue, N.E.
                                               Washington, D.C. 20002
                                               Telephone: (202) 546-8890
                                               Facsimile: (202) 546-9309
                                               Email: osummers@aclj.org
                                               Counsel for Plaintiffs
